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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    YELLOW CORPORATION, et al.,1                                    )     Case No. 23-11069 (___)
                                                                    )
                             Debtors.                               )     (Joint Administration Requested)
                                                                    )

             CERTIFICATION OF DEBTORS’ CONSOLIDATED CREDITOR MATRIX

             In accordance with Rule 1007(a) of the Federal Rules of Bankruptcy Procedure and Rule

1007-2(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), a list of creditors (the “List”)

of Yellow Corporation and its affiliated debtors and debtors in possession in the above captioned

chapter 11 cases (collectively, the “Debtors”) is filed by attachment hereto.

             The List has been prepared, on a consolidated basis, from the Debtors’ books and records.

The undersigned certifies that the List contains the names and addresses of all creditors of the

Debtors that could be ascertained after diligent inquiry, based on a review of the Debtors’ books

and records, and is consistent with the information contained therein. To the extent practicable, the

List complies with Local Rule 1007-1(a). The Debtors reserve the right to amend or supplement

the List as necessary.

             Although the information contained in the List is based on a review of the Debtors’ books

and records, the Debtors have not completed a comprehensive legal and/or factual investigation

with regard to possible defenses of the Debtors and their estates to any claims of the potential



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.



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claimants included in the List. In addition, certain of the parties included in the List may not hold

outstanding claims as of the date hereof and, therefore, may not be creditors of the Debtors and

their estates for purposes of these chapter 11 cases. Therefore, the List does not, and should not be

deemed or otherwise construed to, constitute either (i) a waiver of any defenses of the Debtors and

their estates to any claims that may be asserted against the Debtors and their estates or (ii) an

acknowledgement or admission of the validity, priority, or amount of any claims that may be

asserted against the Debtors and their estates.

   Dated: August 7, 2023

                                                  YELLOW CORPORATION

                                                  /s/Matthew A. Doheny
                                                  Matthew A. Doheny
                                                  Chief Restructuring Officer




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